436 F.2d 595
    Ray L. JORDAN and Mrs. Mavis Jordan, his wife, Plaintiffs-Appellants,v.ILLINOIS CENTRAL RAILROAD, Defendant-Appellee.
    No. 30092 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    January 7, 1971.
    
      Appeal from the United States District Court for the Eastern District of Louisiana; Fred J. Cassibry, District Judge.
      Edgar J. Monjure, Russell Schonekas, Gibson Tucker, Jr., New Orleans, La., for plaintiffs-appellants.
      H. Martin Hunley, Jr., New Orleans, La., for defendant-appellee; Robert Mitten, Chicago, Ill., Lemle, Kelleher, Kohlmeyer, Matthews &amp; Schumacher, New Orleans, La., of counsel.
      Before GEWIN, GOLDBERG, and DYER, Circuit Judges.
      PER CURIAM:
    
    Affirmed. See Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir. 1970, 431 F.2d 409
      
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F. 2d 966
      
    
    